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                   UNITED STATES DISTRICT COURT
                             FOR THE
                   EASTERN DISTRICT OF MICHIGAN

  RENEE MERCKX,                            )
                                           )
               Plaintiff                   )
                                           ) Case No.: 2:19-cv-13532-SFC-APP
        v.                                 )
                                           )
  CAPITAL ONE (USA), N.A.,                 )
                                           )
                Defendant                  )
                                           )

       STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii), the parties to this action, through

  counsel, hereby stipulate to the dismissal with prejudice and with each party

  to bear its own costs and fees.

        IT IS ORDERED that Plaintiff’s complaint is dismissed with

  prejudice and with each parties to bear its own costs or attorneys’ fees.



  Dated:
                                         U.S. District Court Judge Sean F. Cox
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  Stipulated as to form and content:


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  Date: November 30, 2020               Date: November 30, 2020




                                       /s/ Amy L. Bennecoff Ginsburg
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